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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;
&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;124 P.3d 905&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;The PEOPLE of the State of Colorado, In the Interest of T.E.M., T.E.M., W.B.M., Jr., T.B.M., and C.E.M., Children, Upon the Petition of Denver Department of Human Services, Petitioner-Appellee,
and Concerning W.B.M., Respondent-Appellant.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-cite"&gt;No. 05CA0837&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Colorado Court of Appeals, Div. II&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-date"&gt;October 6, 2005&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;
&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-pagenumber" data-id="pagenumber_321" data-val="906" data-vol="124" data-page_type="labeled_number" data-rep="P.3d"&gt;&lt;/span&gt;COPYRIGHT MATERIAL OMITTED&lt;/p&gt;
&lt;/div&gt;
&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="349" class="ldml-paragraph no-indent mt-2"&gt;&lt;span class="ldml-pagenumber" data-id="pagenumber_349" data-val="907" data-vol="124" data-page_type="labeled_number" data-rep="P.3d"&gt;&lt;/span&gt; &lt;span data-paragraph-id="349" data-sentence-id="357" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Cole Finegan&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;City Attorney&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Laoise King&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Assistant City Attorney&lt;/span&gt;, Denver, Colorado, for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellee&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="467" class="ldml-paragraph no-indent mt-2"&gt; &lt;span data-paragraph-id="467" data-sentence-id="475" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Phillip Robert James&lt;/span&gt;&lt;/span&gt;, Denver, Colorado, for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="541" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (LOEB, ROTHENBERG, DAILEY)"&gt;&lt;span data-paragraph-id="541" data-sentence-id="549" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;LOEB&lt;/span&gt;&lt;/span&gt;, J.&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="558" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="558" data-sentence-id="566" class="ldml-sentence"&gt;W.B.M. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;father&lt;/span&gt;)&lt;/span&gt; appeals from a judgment terminating the parent-child legal relationship between him and his children, T.E.M., T.E.M., W.B.M., Jr., T.B.M., and C.E.M.&lt;/span&gt; &lt;span data-paragraph-id="558" data-sentence-id="732" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; affirm.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_743" data-ordinal_start="1" data-format="upper_case_roman_numeral" data-specifier="I" data-parsed="true" data-content-heading-label="I.
" data-ordinal_end="1" data-value="I." id="heading_743"&gt;&lt;span data-paragraph-id="743" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="743" data-sentence-id="743" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="746" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="746" data-sentence-id="754" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; claims the termination order must be reversed because the magistrate failed to advise him of his right to a hearing before a judge at the adjudicatory and dispositional stage of the proceeding.&lt;/span&gt; &lt;span data-paragraph-id="746" data-sentence-id="955" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; argues that, although &lt;span class="ldml-entity"&gt;he&lt;/span&gt; waived formal advisement of his rights pursuant to &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-202&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.2005&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.J.P. 4.2&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not waive advisement of his right to be heard by a judge.&lt;/span&gt; &lt;span data-paragraph-id="746" data-sentence-id="1161" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; thus claims the magistrate lacked the authority to enter the adjudicatory order.&lt;/span&gt; &lt;span data-paragraph-id="746" data-sentence-id="1245" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-id="heading_1258" data-ordinal_start="1" data-format="upper_case_letters" data-specifier="A" data-parsed="true" data-content-heading-label="A.
" data-ordinal_end="1" data-value="A." id="heading_1258"&gt;&lt;span data-paragraph-id="1258" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1258" data-sentence-id="1258" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="1261" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1261" data-sentence-id="1269" class="ldml-sentence"&gt;Initially, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s argument that &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s failure to file a &lt;span class="ldml-entity"&gt;petition for review&lt;/span&gt; of the adjudicatory and dispositional orders in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; precludes appellate review.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1459" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1459" data-sentence-id="1467" class="ldml-sentence"&gt;The filing of a &lt;span class="ldml-entity"&gt;petition for review&lt;/span&gt; in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; is required for appellate review of a magistrate's order.&lt;/span&gt; &lt;span data-paragraph-id="1459" data-sentence-id="1583" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_1467"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;C.S. v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;83 P.3d 627&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1628" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1628" data-sentence-id="1636" class="ldml-sentence"&gt;Here, while the magistrate entered a written adjudicatory order as to &lt;span class="ldml-entity"&gt;mother&lt;/span&gt;, the record on appeal does not include such an order as to &lt;span class="ldml-entity"&gt;father&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1628" data-sentence-id="1780" class="ldml-sentence"&gt;It thus appears that the magistrate's adjudicatory and dispositional orders as to &lt;span class="ldml-entity"&gt;father&lt;/span&gt; were not reduced to writing as required by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 19-1-108&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;, C.R.S.2005&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1628" data-sentence-id="1942" class="ldml-sentence"&gt;Therefore, there was no final adjudicatory or dispositional order from which &lt;span class="ldml-entity"&gt;father&lt;/span&gt; could seek review in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1628" data-sentence-id="2067" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofmcl,671p2d1339coloapp1983" data-prop-ids="sentence_1942"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of M.C.L.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;671 P.2d 1339&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that the time in which to file a &lt;span class="ldml-entity"&gt;petition for review&lt;/span&gt; of a commissioner's order commences upon the signing of the written &lt;span class="ldml-opinionnote"&gt;order&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2268" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2268" data-sentence-id="2276" class="ldml-sentence"&gt;The record, however, contains documentation, including minute orders, showing that the magistrate accepted &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s admission, sustained the petition in dependency or neglect, and approved a treatment plan for him.&lt;/span&gt; &lt;span data-paragraph-id="2268" data-sentence-id="2491" class="ldml-sentence"&gt;These orders became appealable upon entry of the judgment of termination.&lt;/span&gt; &lt;span data-paragraph-id="2268" data-sentence-id="2565" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofjm,74p3d475,----,2003wl21026926" data-prop-ids="embeddedsentence_2627,sentence_2491"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of J.M.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;74 P.3d 475&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.
&lt;span class="ldml-pagenumber" data-id="pagenumber_2616" data-val="908" data-vol="124" data-page_type="labeled_number" data-rep="P.3d"&gt;&lt;/span&gt;App.&lt;/span&gt;&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;documents in the record were sufficient to establish that children were adjudicated dependent or neglected for purposes of termination hearing&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2772" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2772" data-sentence-id="2780" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s contention here is properly before &lt;span class="ldml-entity"&gt;us&lt;/span&gt; on appeal.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-id="heading_2861" data-ordinal_start="2" data-format="upper_case_letters" data-specifier="B" data-parsed="true" data-content-heading-label="B.
" data-ordinal_end="2" data-value="B." id="heading_2861"&gt;&lt;span data-paragraph-id="2861" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2861" data-sentence-id="2861" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="2864" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2864" data-sentence-id="2872" class="ldml-sentence"&gt;As pertinent here, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 19-1-108&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, C.R.S.2005&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, provides:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2931" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2931" data-sentence-id="2939" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;During the initial advisement of the rights of any &lt;span class="ldml-entity"&gt;party&lt;/span&gt;,&lt;/i&gt; the magistrate shall inform &lt;span class="ldml-entity"&gt;the party&lt;/span&gt; that . . . &lt;span class="ldml-entity"&gt;he&lt;/span&gt; or &lt;span class="ldml-entity"&gt;she&lt;/span&gt; has the right to a hearing before the judge in the first instance and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; or &lt;span class="ldml-entity"&gt;she&lt;/span&gt; may waive that right but that, by waiving that right, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; or &lt;span class="ldml-entity"&gt;she&lt;/span&gt; is bound by the findings and recommendations of the magistrate, subject to a &lt;span class="ldml-entity"&gt;request for review&lt;/span&gt; as provided in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2939"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt; of &lt;span class="ldml-entity"&gt;this section&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3348" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3348" data-sentence-id="3356" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3374" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3374" data-sentence-id="3382" class="ldml-sentence"&gt;In dependency and neglect proceedings, the advisement must be given at the parent's first appearance.&lt;/span&gt; &lt;span data-paragraph-id="3374" data-sentence-id="3484" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3382"&gt;&lt;span class="ldml-cite"&gt;Section 19-3-202&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3382"&gt;&lt;span class="ldml-cite"&gt;C.R.J.P. 4.2&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofamd,648p2d625,631colo1982percuriam" data-prop-ids="sentence_3382"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of A.M.D.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;648 P.2d 625&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3374" data-sentence-id="3582" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The statute&lt;/span&gt; is mandatory and reversal is required when a magistrate completely fails to advise &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; of their right to be heard by a judge.&lt;/span&gt; &lt;span data-paragraph-id="3374" data-sentence-id="3728" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;In Interest of &lt;/i&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofaphvunbornchildhno03ca202798p3d955august12,2004" data-prop-ids="sentence_3728"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;A.P.H.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;98 P.3d 955&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inthematterofthepetitionofrgb,iino03ca142898p3d958august12,2004" data-prop-ids="sentence_3728"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;In re R.G.B.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;98 P.3d 958&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3823" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="3823" data-sentence-id="3831" class="ldml-sentence"&gt;However, a parent may waive his or her right to a formal advisement.&lt;/span&gt; &lt;span data-paragraph-id="3823" data-sentence-id="3900" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;In Interest of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofaphvunbornchildhno03ca202798p3d955august12,2004" data-prop-ids="sentence_3900"&gt;&lt;span class="ldml-refname"&gt;A.P.H.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/i&gt;&lt;/span&gt; &lt;span data-paragraph-id="3823" data-sentence-id="3930" class="ldml-sentence"&gt;And because the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3930"&gt;&lt;span class="ldml-cite"&gt;§ 19-1-108&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; advisement must be made during the initial advisement of rights pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3930"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-202&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, a waiver of the initial advisement includes a waiver of the advisement of the right to be heard by a judge.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4162" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4162" data-sentence-id="4170" class="ldml-sentence"&gt;Moreover, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4170"&gt;&lt;span class="ldml-cite"&gt;§ 19-1-108&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not require that a parent be advised at any time other than the initial appearance.&lt;/span&gt; &lt;span data-paragraph-id="4162" data-sentence-id="4286" class="ldml-sentence"&gt;Accordingly, a parent's waiver of the right to a formal advisement is effective throughout the dependency and neglect proceedings.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4417" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4417" data-sentence-id="4425" class="ldml-sentence"&gt;Here, &lt;span class="ldml-entity"&gt;father&lt;/span&gt;, who was represented by &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, waived his right to a formal advisement at his first appearance on &lt;span class="ldml-entity"&gt;January 14, 2004&lt;/span&gt;, and then entered admissions to portions of the petition in dependency or neglect.&lt;/span&gt; &lt;span data-paragraph-id="4417" data-sentence-id="4638" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; thus waived his right to be heard by a judge at the adjudicatory hearing, and the magistrate was not required to re-advise him of his rights at that hearing.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4799" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4799" data-sentence-id="4807" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; note that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; also claims the magistrate lacked jurisdiction to preside over the termination hearing and to enter the order of termination.&lt;/span&gt; &lt;span data-paragraph-id="4799" data-sentence-id="4962" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; judge, not a magistrate, conducted the termination hearing and entered the order.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_5070" data-ordinal_start="2" data-format="upper_case_roman_numeral" data-specifier="II" data-parsed="true" data-content-heading-label="II.
" data-ordinal_end="2" data-value="II." id="heading_5070"&gt;&lt;span data-paragraph-id="5070" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="5070" data-sentence-id="5070" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="5074" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5074" data-sentence-id="5082" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; claims &lt;span class="ldml-entity"&gt;the juvenile court&lt;/span&gt; erred in denying his &lt;span class="ldml-entity"&gt;motion to continue the termination hearing&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5074" data-sentence-id="5180" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; perceive no error.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5202" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5202" data-sentence-id="5210" class="ldml-sentence"&gt;A &lt;span class="ldml-entity"&gt;motion for continuance&lt;/span&gt; is addressed to the sound discretion of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;, and its ruling will not be disturbed on appeal absent a clear abuse of that discretion.&lt;/span&gt; &lt;span data-paragraph-id="5202" data-sentence-id="5380" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_5210"&gt;&lt;span class="ldml-refname"&gt;C.S. v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/i&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5403" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5403" data-sentence-id="5411" class="ldml-sentence"&gt;In ruling on the motion, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; should balance the need for orderly and expeditious administration of justice against the facts underlying the motion, while considering the child's need for permanency.&lt;/span&gt; &lt;span data-paragraph-id="5403" data-sentence-id="5622" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_5411"&gt;&lt;span class="ldml-refname"&gt;C.S. v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofmm,726p2d1108,1122colo1986" data-prop-ids="sentence_5411"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of M.M.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;726 P.2d 1108&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5704" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5704" data-sentence-id="5712" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, because two of the children were under the age of six when &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were removed from the home, the expedited permanency planning &lt;span class="ldml-parenthetical"&gt;(EPP)&lt;/span&gt; provisions applied and required that the termination hearing be held within 120 days after the &lt;span class="ldml-entity"&gt;motion for termination&lt;/span&gt; was filed.&lt;/span&gt; &lt;span data-paragraph-id="5704" data-sentence-id="5987" class="ldml-sentence"&gt;In EPP &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"shall not grant a delay unless good cause is shown and unless &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; finds that the best interests of the child will be served by granting a delay."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="5704" data-sentence-id="6170" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5987"&gt;&lt;span class="ldml-cite"&gt;Sections 19-3-508&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, 19-3-602&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.2005&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6220" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="6220" data-sentence-id="6228" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;motion for termination&lt;/span&gt; was filed on &lt;span class="ldml-entity"&gt;October 18, 2004&lt;/span&gt;, and the hearing was held on &lt;span class="ldml-entity"&gt;February 18, 2005&lt;/span&gt;, three days after the 120-day deadline had passed.&lt;/span&gt; &lt;span data-paragraph-id="6220" data-sentence-id="6383" class="ldml-sentence"&gt;At the beginning of the hearing, &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; for &lt;span class="ldml-entity"&gt;father&lt;/span&gt; indicated that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had been unable to contact him and that, although &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had been given notice of the hearing several times, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was not present at the hearing.&lt;/span&gt; &lt;span data-paragraph-id="6220" data-sentence-id="6594" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt; told &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; it was uncharacteristic for &lt;span class="ldml-entity"&gt;father&lt;/span&gt; to
&lt;span class="ldml-pagenumber" data-id="pagenumber_6655" data-val="909" data-vol="124" data-page_type="labeled_number" data-rep="P.3d"&gt;&lt;/span&gt;miss the hearing and speculated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was having medical problems, but admitted &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had no evidence that that was &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6781" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="6781" data-sentence-id="6789" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; and the guardian ad litem objected to the continuance, noting that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had not attended scheduled visitations with the children for two months, and stressing that this was an EPP case where delay was not in the children's best interests.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7041" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7041" data-sentence-id="7049" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; denied the motion, concluding that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had not shown good cause for a continuance and that delay was not in the children's best interests.&lt;/span&gt; &lt;span data-paragraph-id="7041" data-sentence-id="7201" class="ldml-sentence"&gt;In its findings, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; noted that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had not contacted &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to explain his failure to appear, and that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; could not &lt;span class="ldml-quotation quote"&gt;"assume"&lt;/span&gt; his absence &lt;span class="ldml-quotation quote"&gt;"is related to any medical condition when &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; has no evidence to support that."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7444" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7444" data-sentence-id="7452" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt;'s ruling&lt;/span&gt; reflects proper balancing of the reasons proffered for the continuance, the need for prompt resolution of the proceeding, and the children's best interests.&lt;/span&gt; &lt;span data-paragraph-id="7444" data-sentence-id="7628" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; perceive no abuse of discretion in &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s denial of the &lt;span class="ldml-entity"&gt;motion to continue&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7444" data-sentence-id="7725" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895462813" data-vids="895462813" class="ldml-reference" data-prop-ids="sentence_7628"&gt;&lt;span class="ldml-refname"&gt;C.S. v. People&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofmm,726p2d1108,1122colo1986" data-prop-ids="sentence_7628"&gt;&lt;span class="ldml-refname"&gt;People in Interest of M.M.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/i&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_7787" data-ordinal_start="3" data-format="upper_case_roman_numeral" data-specifier="III" data-parsed="true" data-content-heading-label="III.
" data-ordinal_end="3" data-value="III." id="heading_7787"&gt;&lt;span data-paragraph-id="7787" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7787" data-sentence-id="7787" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="7792" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="7792" data-sentence-id="7800" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; maintains that &lt;span class="ldml-entity"&gt;the juvenile court&lt;/span&gt; erred in admitting into evidence his arrest record, which the &lt;span class="ldml-entity"&gt;Department of Public Safety&lt;/span&gt; certified as a &lt;span class="ldml-quotation quote"&gt;"true copy of the official &lt;span class="ldml-parenthetical"&gt;[Colorado Bureau of Investigation's]&lt;/span&gt; record as of &lt;span class="ldml-entity"&gt;January 29, 2005&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7792" data-sentence-id="8042" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; claims the arrest record contained hearsay, &lt;span class="ldml-quotation quote"&gt;"required authentication,"&lt;/span&gt; and might have contained inaccuracies.&lt;/span&gt; &lt;span data-paragraph-id="7792" data-sentence-id="8159" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also claims his arrest record was &lt;span class="ldml-quotation quote"&gt;"in part not relevant."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7792" data-sentence-id="8220" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; discern no reversible error.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8252" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8252" data-sentence-id="8260" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have reviewed the exhibit and the transcript of the termination hearing, and conclude that any error in its admission was harmless.&lt;/span&gt; &lt;span data-paragraph-id="8252" data-sentence-id="8395" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; admitted &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s arrest record into evidence, it noted that it would &lt;span class="ldml-quotation quote"&gt;"decide issues of relevancy and weight to be given any of the information in the exhibits,"&lt;/span&gt; and there is no indication that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; considered it in entering the termination order.&lt;/span&gt; &lt;span data-paragraph-id="8252" data-sentence-id="8663" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofars,31coloapp268,274,502p2d92,951972" data-prop-ids="sentence_8395"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of A.R.S.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;31 Colo.App. 268&lt;/span&gt;, &lt;span class="ldml-cite"&gt;502 P.2d 92&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1972&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(because it is presumed in a trial to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; disregards any evidence that is otherwise inadmissible hearsay, immaterial, or incompetent, the admission of such evidence does not constitute reversible error)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_8958" data-ordinal_start="4" data-format="upper_case_roman_numeral" data-specifier="IV" data-parsed="true" data-content-heading-label="IV.
" data-ordinal_end="4" data-value="IV." id="heading_8958"&gt;&lt;span data-paragraph-id="8958" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8958" data-sentence-id="8958" class="ldml-sentence"&gt;IV.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="8962" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="8962" data-sentence-id="8970" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; also reject &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s contention that the evidence was insufficient to support &lt;span class="ldml-entity"&gt;the juvenile court&lt;/span&gt;'s finding that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not reasonably comply with the treatment plan.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9139" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9139" data-sentence-id="9147" class="ldml-sentence"&gt;To terminate the parent-child legal relationship, clear and convincing evidence must establish, among other things, that an appropriate treatment plan, approved by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;, has not been complied with by the parent or has not been successful in rehabilitating the parent.&lt;/span&gt; &lt;span data-paragraph-id="9139" data-sentence-id="9426" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9147"&gt;&lt;span class="ldml-cite"&gt;Section 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;, C.R.S.2005&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofamd,648p2d625,631colo1982percuriam" data-prop-ids="sentence_9147"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of A.M.D.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/i&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9502" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9502" data-sentence-id="9510" class="ldml-sentence"&gt;Absolute compliance with a treatment plan is not required.&lt;/span&gt; &lt;span data-paragraph-id="9502" data-sentence-id="9569" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofcli,710p2d1183,1185coloapp1985" data-prop-ids="sentence_9510"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of C.L.I.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;710 P.2d 1183&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1985&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9502" data-sentence-id="9630" class="ldml-sentence"&gt;However, partial compliance, or even substantial compliance, may not be sufficient to correct or improve the parent's conduct or condition, or to render the parent fit.&lt;/span&gt; &lt;span data-paragraph-id="9502" data-sentence-id="9799" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofdmw,752p2d587,588coloapp1987" data-prop-ids="sentence_9630"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of D.M.W.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;752 P.2d 587&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofcakcoloradosupremecourt,652p2d6031982" data-prop-ids="sentence_9630"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of C.A.K.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;652 P.2d 603&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9919" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="9919" data-sentence-id="9927" class="ldml-sentence"&gt;Finally, in termination proceedings, the credibility of the witnesses and the sufficiency, probative effect, and weight of the evidence, as well as the inferences and conclusions to be drawn therefrom, are within the discretion of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9919" data-sentence-id="10175" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s findings and conclusions will not be disturbed on review if the record supports them.&lt;/span&gt; &lt;span data-paragraph-id="9919" data-sentence-id="10283" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofcakcoloradosupremecourt,652p2d6031982" data-prop-ids="sentence_10175"&gt;&lt;span class="ldml-refname"&gt;People in Interest of C.A.K.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/i&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10320" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10320" data-sentence-id="10328" class="ldml-sentence"&gt;Intervention was necessitated here because the children were neglected and the home environment was unsafe, unsanitary, and unhealthy.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10463" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10463" data-sentence-id="10471" class="ldml-sentence"&gt;The testimony presented at the termination hearing established that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; complied with some aspects of the treatment plan, including the requirements that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; submit to a psychological evaluation and random urinalysis, attend parenting classes, and participate in therapy.&lt;/span&gt; &lt;span data-paragraph-id="10463" data-sentence-id="10745" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt; also regularly
&lt;span class="ldml-pagenumber" data-id="pagenumber_10767" data-val="910" data-vol="124" data-page_type="labeled_number" data-rep="P.3d"&gt;&lt;/span&gt;attended visits with the children until two months before the termination hearing.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10850" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="10850" data-sentence-id="10858" class="ldml-sentence"&gt;However, the evidence also established that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; failed to comply with several critical components of the treatment plan that were designed to address his mental health and parenting issues, and improve the condition of the home.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11090" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11090" data-sentence-id="11098" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; did not follow up on referrals for medical treatment and other services and did not consistently participate in therapy.&lt;/span&gt; &lt;span data-paragraph-id="11090" data-sentence-id="11240" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;he&lt;/span&gt; regularly attended parenting classes, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had not internalized and thus could not apply the skills &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had learned.&lt;/span&gt; &lt;span data-paragraph-id="11090" data-sentence-id="11370" class="ldml-sentence"&gt;The caseworker testified that despite his training, &lt;span class="ldml-entity"&gt;father&lt;/span&gt; sat on the couch and did not interact with the children during visits, and that when a safety issue arose, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; directed one of the older children to deal with it.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11591" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11591" data-sentence-id="11599" class="ldml-sentence"&gt;In addition, the home continued to be unsafe and unsanitary, and the caseworker testified that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had poor personal hygiene, which was an issue for the children.&lt;/span&gt; &lt;span data-paragraph-id="11591" data-sentence-id="11765" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;father&lt;/span&gt;'s medical and mental health problems prevented him from being physically and emotionally able to meet the demands of parenting, and that his efforts under the treatment plan were insufficient to correct or improve the issues that led to the children's removal from the home.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12066" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12066" data-sentence-id="12074" class="ldml-sentence"&gt;Based on this evidence, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; found that, although &lt;span class="ldml-entity"&gt;father&lt;/span&gt; attempted to comply with several components of the treatment plan, &lt;span class="ldml-quotation quote"&gt;"many of the most significant issues which brought &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; before &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; — specifically, the condition of the home and safety of the home environment, as well as the medical and psychological issues for &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;father&lt;/span&gt;]&lt;/span&gt; — remain significant issues."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12066" data-sentence-id="12449" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; thus concluded that &lt;span class="ldml-entity"&gt;father&lt;/span&gt; had not reasonably complied with the treatment plan and that it had not been successful in rehabilitating him.&lt;/span&gt; &lt;span data-paragraph-id="12066" data-sentence-id="12597" class="ldml-sentence"&gt;Because the record supports &lt;span class="ldml-entity"&gt;the juvenile court&lt;/span&gt;'s findings, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will not disturb them on appeal.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_12692" data-ordinal_start="5" data-format="upper_case_roman_numeral" data-specifier="V" data-parsed="true" data-content-heading-label="V.
" data-ordinal_end="5" data-value="V." id="heading_12692"&gt;&lt;span data-paragraph-id="12692" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12692" data-sentence-id="12692" class="ldml-sentence"&gt;V.&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="12695" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12695" data-sentence-id="12703" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Father&lt;/span&gt;'s final contentions are that termination was not in the children's best interests and that &lt;span class="ldml-entity"&gt;the juvenile court&lt;/span&gt; erred in concluding that there were no less drastic alternatives to termination.&lt;/span&gt; &lt;span data-paragraph-id="12695" data-sentence-id="12901" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; argues that termination was not in the best interests of the three older children because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; might not be adopted, and that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; did not adequately consider permanent placement with the maternal grandmother or long-term foster care.&lt;/span&gt; &lt;span data-paragraph-id="12695" data-sentence-id="13158" class="ldml-sentence"&gt;Again, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; disagree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13178" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13178" data-sentence-id="13186" class="ldml-sentence"&gt;In considering the termination of the parent-child legal relationship, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must give primary consideration to the physical, mental, and emotional conditions and needs of the child.&lt;/span&gt; &lt;span data-paragraph-id="13178" data-sentence-id="13373" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13186"&gt;&lt;span class="ldml-cite"&gt;Section 19-3-604&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;, C.R.S.2005&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13406" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13406" data-sentence-id="13414" class="ldml-sentence"&gt;Implicit in &lt;span class="ldml-entity"&gt;the statutory scheme&lt;/span&gt; for termination set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;, C.R.S.2005&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, is a requirement that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; consider and eliminate less drastic alternatives before entering an order of termination.&lt;/span&gt; &lt;span data-paragraph-id="13406" data-sentence-id="13634" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofmm,726p2d1108,1122colo1986" data-prop-ids="sentence_13414"&gt;&lt;span class="ldml-refname"&gt;People in Interest of M.M.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/i&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13669" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13669" data-sentence-id="13677" class="ldml-sentence"&gt;Permanent placement with a family member is dependent on the child's best interests, as is the determination whether to order permanent placement as an alternative to termination.&lt;/span&gt; &lt;span data-paragraph-id="13669" data-sentence-id="13857" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13677"&gt;&lt;span class="ldml-cite"&gt;§§ 19-1-115&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, 19-3-604&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, 19-3-605, C.R.S.2005&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:intheinterestofmbno01ca245170p3d618april10,2003" data-prop-ids="sentence_13677"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of M.B.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;70 P.3d 618&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofjmb,60p3d790,792coloapp2002" data-prop-ids="sentence_13677"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of J.M.B.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;60 P.3d 790&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;2002&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13677"&gt;&lt;span class="ldml-cite"&gt;§ 19-1-102, C.R.S.2005&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13669" data-sentence-id="14064" class="ldml-sentence"&gt;Thus, long-term or permanent placement may not be appropriate when it does not provide adequate permanence or otherwise meet the child's needs.&lt;/span&gt; &lt;span data-paragraph-id="13669" data-sentence-id="14208" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofjmb,60p3d790,792coloapp2002" data-prop-ids="sentence_14064"&gt;&lt;span class="ldml-refname"&gt;People in Interest of J.M.B.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofeic,958p2d511,513-14coloapp1998" data-prop-ids="sentence_14064"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of E.I.C.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;958 P.2d 511&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1998&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofst,678p2d1054,1056coloapp1983" data-prop-ids="sentence_14064"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People in Interest of S.T.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;678 P.2d 1054&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt;&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14364" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14364" data-sentence-id="14372" class="ldml-sentence"&gt;Here, the caseworker testified that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; considered long-term placement with the grandmother as an alternative to termination, but rejected it because the grandmother ran a state-funded residential facility for registered sex offenders in her home.&lt;/span&gt; &lt;span data-paragraph-id="14364" data-sentence-id="14620" class="ldml-sentence"&gt;The grandmother was unwilling to stop running the facility in order to care for the children because &lt;span class="ldml-entity"&gt;she&lt;/span&gt; needed the income it provided.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14756" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14756" data-sentence-id="14764" class="ldml-sentence"&gt;The children's therapist testified that the oldest child believed her primary responsibility was to take care of her &lt;span class="ldml-entity"&gt;father&lt;/span&gt; and that, because &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was placing his needs above hers, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was not taking care of herself.&lt;/span&gt; &lt;span data-paragraph-id="14756" data-sentence-id="14980" class="ldml-sentence"&gt;The child felt a strong sense of loyalty to &lt;span class="ldml-entity"&gt;father&lt;/span&gt; and was thus unable to make the decision to sever her ties to him so &lt;span class="ldml-entity"&gt;she&lt;/span&gt; could move on
&lt;span class="ldml-pagenumber" data-id="pagenumber_15118" data-val="911" data-vol="124" data-page_type="labeled_number" data-rep="P.3d"&gt;&lt;/span&gt;psychologically and allow herself to bond with and get her needs met by another family.&lt;/span&gt; &lt;span data-paragraph-id="14756" data-sentence-id="15206" class="ldml-sentence"&gt;The therapist expressed the opinion that the child needed someone else to make that decision for her, and that, because &lt;span class="ldml-entity"&gt;she&lt;/span&gt; needed &lt;span class="ldml-quotation quote"&gt;"a concrete break"&lt;/span&gt; from &lt;span class="ldml-entity"&gt;father&lt;/span&gt;, termination was in her best interests.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15408" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15408" data-sentence-id="15416" class="ldml-sentence"&gt;The therapist further testified that the other two older children had expressed an interest in being adopted or finding a &lt;span class="ldml-quotation quote"&gt;"forever family,"&lt;/span&gt; and that adoption was possible for them and likely for the two younger children.&lt;/span&gt; &lt;span data-paragraph-id="15408" data-sentence-id="15637" class="ldml-sentence"&gt;The therapist and caseworker acknowledged that the oldest child would probably not be adopted, but agreed that termination was in the best interests of all of the children even if &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were not adopted because the children needed the safety and security of permanent homes.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15911" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15911" data-sentence-id="15919" class="ldml-sentence"&gt;Both witnesses testified that long-term placement, whether with a relative or in a foster home, was not a viable alternative for the children in the absence of termination.&lt;/span&gt; &lt;span data-paragraph-id="15911" data-sentence-id="16092" class="ldml-sentence"&gt;The therapist explained that it would not be beneficial to the children to maintain the parent-child legal relationship because it would leave them in limbo and &lt;span class="ldml-quotation quote"&gt;"create an ambiguity"&lt;/span&gt; about whether &lt;span class="ldml-entity"&gt;they&lt;/span&gt; would ever go home that would be confusing for them.&lt;/span&gt; &lt;span data-paragraph-id="15911" data-sentence-id="16347" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; expressed the opinion that termination was necessary to enable the children &lt;span class="ldml-quotation quote"&gt;"emotionally to cut that tie"&lt;/span&gt; and allow themselves to &lt;span class="ldml-quotation quote"&gt;"move on"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"love or be loved by somebody else"&lt;/span&gt; without &lt;span class="ldml-quotation quote"&gt;"the dilemma of loyalties"&lt;/span&gt; to &lt;span class="ldml-entity"&gt;father&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16577" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="16577" data-sentence-id="16585" class="ldml-sentence"&gt;This evidence supports &lt;span class="ldml-entity"&gt;the juvenile court&lt;/span&gt;'s rejection of placement with the grandmother or a long-term foster family as a viable less drastic alternative to termination, and its determination that termination was in the children's best interests, whether or not &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were ultimately adopted.&lt;/span&gt; &lt;span data-paragraph-id="16577" data-sentence-id="16877" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will not disturb &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s ruling&lt;/span&gt; on appeal.&lt;/span&gt; &lt;span data-paragraph-id="16577" data-sentence-id="16940" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofjmb,60p3d790,792coloapp2002" data-prop-ids="sentence_16877"&gt;&lt;span class="ldml-refname"&gt;People in Interest of J.M.B.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;supra&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/i&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16981" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="16981" data-sentence-id="16989" class="ldml-sentence"&gt;The judgment is affirmed.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17015" class="ldml-paragraph no-indent mt-4"&gt; &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="17015" data-sentence-id="17023" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;ROTHENBERG&lt;/span&gt;&lt;/span&gt; and Judge &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;DAILEY&lt;/span&gt;&lt;/span&gt; concur&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;